 Transcript of Lester Brown
                         Date: August 24, 2020
            Case: Pursley -v- The City of Rockford, et al.




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         WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
1                  IN THE UNITED STATES DISTRICT COURT
2                 FOR THE NORTHERN DISTRICT OF ILLINOIS
3    - - - - - - - - - - - - x
4    PATRICK PURSLEY,             :
5              Plaintiff,         :
6          vs:                    : Case No. 3:18-cv-50040
7    THE CITY OF ROCKFORD,        :
8    et al.,                      :
9                Defendants.      :
10   - - - - - - - - - - -        x
11
12                  Deposition of LESTER BROWN
13                      Conducted Virtually
14                    Monday, August 24, 2020
15                          11:30 a.m. CST
16
17
18
19   Job No.: PB316655
20   Pages: 1 - 105
21   Reported by: Pamela L. Beck
22
23
24
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1                 Deposition of LESTER BROWN, Conducted
2    Virtually:
3
4
5                  ** ALL PARTIES ATTENDED REMOTELY **
6
7
8                 Pursuant to Notice, before Pamela L. Beck,
9    Court Reporter and Notary Public in and for the
10   Commonwealth of Pennsylvania.
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1         A P P E A R A N C E S      C O N T I N U E D
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1                      P R O C E E D I N G S
2                 REPORTER:     Will counsel please stipulate
3    that in lieu of formally swearing in the witness,
4    the reporter will instead ask the witness to
5    acknowledge that their testimony will be true under
6    the penalties of perjury, that counsel will not
7    object to the admissibility of the transcript based
8    on proceeding in this way, and that the witness has
9    verified that he is, in fact, Lester Brown.
10                Do all counsel agree?
11                 MS. LEFF:     Stipulated on behalf of
12   Plaintiff.
13                 MR. POTTINGER:     Yes on behalf of the
14   State Defendants.
15                 MR. IASPARRO:     Yes, Mike Iasparro on
16   behalf of Defendants Schmidt, Hanson, Genens, Houde,
17   Gallardo, Bowman and Pobjecky.
18                 MR. HUOTARI:     And so stipulated by Joel
19   Huotari on behalf of Christine Bishop, Bruce Scott,
20   Doug Williams, Steve Pirages and Jim Barton.
21                 MR. BHAVE:     This is Sunil Bhave on behalf
22   of the Illinois State Police Defendants Dan Gunnell,
23   Peter Striupaitis and Jack Weltz.          We do not have an
24   objection to the statements made by the court


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1    reporter, and we do not object to the transcript
2    being produced in this manner.
3               However, just for the record, these three
4    ISP Defendants, we do object to the video recording
5    on Zoom of this deposition that is taking place for
6    the reasons that the ISP Defendants have stated in
7    their Motion for Protective Order that is pending
8    before the Court.    The ISP Defendants do not
9    represent Mr. Brown, but they do lodge this
10   objection for purposes of preservation.
11              MR. MOGBANA:     This is Ifeanyi Mogbana on
12   behalf of the City, we do not object to the court
13   reporter's statements.
14              REPORTER:     Mr. Brown, do you hereby
15   acknowledge that your testimony will be true under
16   the penalties of perjury?
17              THE WITNESS:     I do.
18                           LESTER BROWN,
19             the witness herein, was examined and
20       testified under penalty of perjury as follows:
21                          EXAMINATION
22   BY MS. LEFF:
23        Q     Good morning, Mr. Brown.         My name is
24   Alison Leff.   I represent the Plaintiff in this


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1         A      Yes.
2         Q      I know you've been deposed before, but
3    I'm going to give you some ground rules just to make
4    sure that we're all on the same page today.        Okay?
5         A      Okay.
6         Q      So, I'm going to ask you questions, and
7    you're going to be giving answers under oath just as
8    if you were in a courtroom.       It's the same oath to
9    tell the truth.
10               If I ask a question that you don't
11   understand, please let me know, and I will try to
12   rephrase and make sure that you understand.        Okay?
13        A      Yes.
14        Q      We have a court reporter who is taking
15   down your testimony today, so for that reason, it's
16   important that we don't talk over each other.        So,
17   I'm going to wait until you finish your answer
18   before I ask my next question.        And I'll ask that
19   you wait until I'm done with my questions before you
20   answer.   Okay?
21        A      Yes.
22        Q      For the same reason, it's important that
23   you give verbal answers.      If you shake or nod your
24   head, then the court reporter can't take down your


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1    testimony.     Okay?
2            A     Yes.
3            Q     From time to time, some of the attorneys
4    who are participating might object to one of my
5    questions, so they may interject and say that they
6    have an objection.       You can answer the question
7    anyway unless you're instructed by anyone not to
8    answer.     Okay?
9            A     Yes.
10           Q     The last thing is that if you want to
11   take a break at any time, just let us know, and
12   we'll take a break.       We'll go off the record.      The
13   only thing I ask is that if a question is pending,
14   that you answer the question before we take a break.
15   Okay?
16           A     Okay.    I don't want to take no breaks, I
17   just want to get this over with.
18           Q     Understood.     Mr. Brown, is there any
19   reason that you can't provide true answers to my
20   questions today?
21           A     No.
22           Q     Are you taking any medications that
23   affect your ability to tell the truth?
24           A     No.


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1         Q        Are you taking any medications that
2    affect your memory?
3         A        No.
4         Q        Do you have any other problems with your
5    memory?
6         A        No.
7         Q        I want to start by asking you some
8    questions about your criminal history.              Okay?
9         A        Yes.
10        Q        Now, you've been convicted of a number of
11   felonies, is that right?
12        A        Yes.
13        Q        You were convicted of theft in 1988?
14        A        Yes.
15        Q        And you were convicted of residential
16   burglary on November 11th, 1983, is that right?
17        A        Yes.
18        Q        And you were sentenced to four years for
19   that crime?
20        A        Yes.
21        Q        You were also convicted of felony theft
22   on January 27th, 1989, is that right?
23        A        Yes.
24        Q        And you were sentenced to four years for


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1    that crime as well?
2         A     Yes.
3         Q     Then on November 11th of 1991, you were
4    convicted of possession of a controlled substance
5    with intent to deliver, is that right?
6         A     Yes.
7         Q     And you got a five-year sentence for that
8    crime?
9         A     Yes.
10        Q     Now, in September of 1993, you were
11   arrested for robbing a bank, is that right?
12        A     Yes.
13        Q     And for that, you were charged with a
14   federal crime, correct?
15        A     Yes.
16        Q     And ultimately pleaded guilty to that
17   bank robbery?
18        A     Yes.
19        Q     And you were sentenced to 15 and a half
20   years in prison, is that correct?
21        A     Yes.
22        Q     Now, on December 14th, 1993, you were
23   also arrested for a misdemeanor, disorderly conduct,
24   is that correct?


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1         A     I'm not sure.
2         Q     You've been in a gang as well, is that
3    right?
4         A     What did you say, ma'am?
5         Q     I asked if you've also been affiliated
6    with a gang?
7         A     Yes.
8         Q     You've been a member of the Vice Lords?
9         A     No.
10        Q     What gang were you affiliated with?
11        A     GDs.
12        Q     Is that the Gangster Disciples?
13        A     Yes.
14        Q     Now, I want to ask you some questions
15   about what was going on in your life when you
16   offered to cooperate against Patrick Pursley.        Okay?
17        A     Yes.
18        Q     So, in 1993, Patrick Pursley was someone
19   who you had known for a long time, right?
20        A     Yes.
21        Q     And you had known him about seven years,
22   is that true?
23        A     Yes, or a little longer.
24        Q     Did you say or a little longer?


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1         A     Yes.
2         Q     And you had been to his house?
3         A     Yes.
4         Q     And you knew his girlfriend, Samantha,
5    right?
6         A     Yes.
7         Q     And you also knew that Patrick was
8    arrested in June of 1993 for Andrew Ascher's murder,
9    is that correct?
10        A     Yes.
11        Q     And you knew that Patrick was in jail
12   awaiting trial?
13        A     Yes.
14        Q     Now, a few months after Patrick was
15   arrested, you were arrested for the bank robbery,
16   correct?
17        A     Yes.
18        Q     And when you were arrested, you were
19   still on parole for your 1991 conviction, correct?
20        A     I'm not sure.
21        Q     You don't recall?
22        A     No.
23        Q     Do you recall that your arrest was a
24   parole violation?


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1            A   I'm not sure.
2            Q   You were charged with a federal crime for
3    the bank robbery, is that correct?          I think you said
4    that already.
5            A   Yes.
6            Q   So, when you were arrested, you were
7    locked up in a federal jail, is that correct?
8            A   No.
9            Q   Where were you locked up?
10           A   Winnebago County Jail.
11           Q   And under the federal system, you
12   understood that the Federal Sentencing Guidelines
13   apply, is that right?
14           A   Yes.
15           Q   And you understand that under that
16   system, your recommended sentence is longer the
17   worse your criminal history is?
18           A   Not at the time, no.
19           Q   At the time you did not understand that?
20           A   No.
21           Q   Did you eventually come to understand
22   that?
23           A   Yes.
24           Q   When?


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1         A     Several months after I was incarcerated
2    in the Winnebago County Jail.
3         Q     So, a few months after you were arrested
4    for the bank robbery, you came to understand that
5    under the Federal Sentencing Guidelines, your
6    sentence would be longer the worse your criminal
7    history is, is that fair?
8         A     Yes.
9         Q     In fact, in 1993, you had the highest
10   possible criminal history level under the Federal
11   Sentencing Guidelines, right?
12        A     Yes.
13        Q     You were considered Category VI?
14        A     Yes.
15        Q     And that's a career offender, correct?
16        A     Yes.
17        Q     So, you were facing a lot of prison time
18   in 1993, correct?
19        A     Yes.
20        Q     I'm sorry, did I cut you off?
21        A     I said yes.
22        Q     If you went to trial and lost in 1993,
23   you were facing 26 years in prison, right?
24        A     I'm not sure.


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1            Q   What's your memory of what you were
2    facing?
3            A   Twenty.
4            Q   Twenty years.       If you pleaded guilty, you
5    were facing 20 years, is that right?
6            A   If I pleaded guilty, no.          If I pleaded
7    guilty, I accept my own responsibility.              I was
8    facing 15 and a half years.
9            Q   And you had young children at the time,
10   right?
11           A   Yes.
12           Q   And you didn't want to miss your kids'
13   childhood, right?
14           A   No.
15           Q   Let me ask that again so I make sure we
16   understand the question.
17               It's true, isn't it, that you did not
18   want to miss your children's childhood?              Is that
19   true?
20           A   No, I did not.       Yes.
21           Q   And you had a wife at the time, correct?
22           A   Yes.
23           Q   And you feared that your wife would leave
24   you if you went to prison for a long time, correct?


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1           A   No.
2           Q   I'm going to show you a document which
3    I'm going to ask the court reporter to mark as
4    Lester Brown Exhibit 2.
5               (Exhibit 2 was marked for
6    identification.)
7           Q   Mr. Brown, can you see Exhibit 2?
8           A   Yeah, a little bit.        My eyes are kind of
9    bad.
10          Q   Did you say your eyes were bad?
11          A   Yeah.    I can see a little bit, though.
12          Q   Okay.    Do you recognize Exhibit 2?
13          A   No, not really.      I can't really see it.
14   If you can blow it up, I probably can.
15              MS. LEFF:     Let me just say for the
16   record, Exhibit 2 is a three-page document that
17   begins with Bates label FBI Subpoena Response
18   000099.
19          Q   I'm going to blow it up a little bit.
20   Can you see the exhibit better now?
21          A   A little bit.
22          Q   Do you recognize this as your
23   handwriting?
24          A   Yes.


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1            Q       This is a letter that you wrote to the
2    state's attorney, is that correct?
3            A       Yes.
4            Q       I'm going to read from the top, and I'll
5    ask you to follow along.         It says:     Mr. Cowski, to
6    Mr. Cowski, I'm writing you in regards to me
7    testifying against -- sorry, to me testifying for
8    the state against Patrick Pursley and in regard to
9    my credit or sentence you and state marshal attorney
10   came up with.
11                   Did I read that correctly?
12           A       Yes.
13           Q       And then a little bit down from there in
14   the highlighted portion, you write:            You all want to
15   put Patrick to death, and I feel I can help
16   100 percent.
17                   Did I read that correctly?
18           A       Yes.
19           Q       Then looking at the center of the page,
20   it says:       You all are not looking at what I have to
21   lose.       You give me 15 and a half, there's a chance
22   my wife will divorce me.
23                   Did I read that correctly?
24           A       Yes.


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1         Q        So, is it fair to say that at the time
2    that you offered to cooperate with Patrick, you were
3    afraid that your wife would divorce you if you got a
4    long sentence, is that true?
5         A        I guess.   That was a long time ago.    I
6    guess.     I don't remember that, but I guess, yes,
7    because that is my handwriting.
8         Q        So, at the same time that you were in
9    jail in 1993, you knew that Patrick Pursley was in
10   jail too, right?
11        A        Yes.
12        Q        And you owed Patrick money, is that
13   correct?
14        A        Yes.
15        Q        You owed him $3,000?
16        A        Yes, or more.
17        Q        And Patrick was calling your house,
18   right?
19        A        Yes.
20        Q        He was asking your wife for the money you
21   owed him?
22        A        He was -- let me remind you, he was
23   calling my house before he had got arrested and was
24   telling me to bring him his money and his


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1    walkie-talkie that I had of his.
2         Q     And you were angry at Patrick at the time
3    when you were in jail, is that correct?
4         A     No.
5         Q     And you didn't like Patrick very much,
6    did you?
7         A     Me and Patrick was friends for, like,
8    eight, nine years.
9         Q     At the time that you were in jail in
10   1993, were you still friends with Patrick?
11        A     No.
12        Q     By that time you were no longer friends,
13   right?
14        A     No.
15        Q     No, you were not friends?
16        A     No.
17        Q     So, when you were in jail in 1993, you
18   decided to write a letter to the prosecutor, is that
19   right?
20        A     Yes.
21        Q     And you wanted to make a deal, right?
22        A     No.    I wanted to set my responsibility
23   for my part on my case that I was arrested for.
24        Q     So, you weren't looking to make a deal


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1    with the prosecutor?
2            A   I was looking to set my responsibility
3    and get a reduction for accepting my responsibility,
4    yes.
5            Q   So, you were looking to get a reduction
6    in your sentence from the prosecutor, is that right?
7            A   Yes.
8            Q   You wanted to see if you could get less
9    time in prison in exchange for giving the prosecutor
10   information against Patrick, correct?
11           A   Yes.
12           Q   So, now I want to ask you some questions
13   about the agreement you made with the prosecutors.
14   Okay?
15               So, because of your letter, you had a
16   meeting with the prosecutor, correct?           Is that
17   correct?
18           A   Yes.
19           Q   The guard came to get you from your cell,
20   right?
21           A   Yes, they came and got me from my cell.
22           Q   And you went to a room to meet with the
23   prosecutor, right?
24           A   Yes, with my attorney.


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1         Q       Your public defender was there, right?
2         A       Yes.
3         Q       And the federal prosecutor, correct?
4         A       Yes.
5         Q       And you did make a deal, right?
6         A       I gave a statement.        I didn't make no
7    deal right then and there, no.
8         Q       Well, you entered into a plea agreement,
9    correct?
10        A       I'm not sure.
11        Q       You don't know whether you entered a plea
12   agreement?
13        A       No.    I know I gave a statement about
14   Patrick.
15        Q       Did you plead guilty to the bank robbery?
16        A       Not that day, no.
17        Q       Did you eventually plead guilty to the
18   bank robbery?
19        A       Yes.
20        Q       And did you eventually agree to cooperate
21   with the state to help convict Patrick Pursley of
22   murder?
23        A       Yes.
24        Q       And in exchange, you got two things from


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1    the prosecutor, right?
2         A     Two things, what were they?
3         Q     First, the federal prosecutor agreed to
4    recommend a lower sentence for you, correct?
5         A     Yes, I got a reduction, yes.
6         Q     Instead of the 20 years, you got 15 and a
7    half years, right?
8         A     Yes.
9         Q     And second, Winnebago County dismissed
10   the disorderly conduct charge against you, correct?
11        A     I'm not sure.
12        Q     You don't recall that?
13        A     No.
14        Q     And you held up your end of the deal,
15   correct?
16        A     Yes.
17        Q     And you gave a statement to the Rockford
18   Police about Patrick Pursley, right?
19        A     Yes.
20        Q     And that was in December of 1993?
21        A     Yes.
22        Q     You gave the statement to Detective
23   Howard Forrester, is that right?
24        A     Yes.


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